
PER CURIAM.
This case, Miami Herald Publishing Co. v. Hagler, 471 So.2d 1344 (Fla. 4th DCA 1985), is one of a series of cases presenting issues which were certified as questions of great public importance by Palm Beach Newspapers, Inc. v. Burk, 471 So.2d 571 (Fla. 4th DCA 1985). We tentatively accepted jurisdiction to ensure consistency of decisions. Our decision in Palm Beach Newspapers, Inc. v. Burk, 504 So.2d 378 (Fla.1987), answering the certified questions and affirming the court below obviates jurisdiction. We deny the petition for review.
It is so ordered.
McDonald, C.J., and OVERTON, EHRLICH, SHAW, GRIMES and KOGAN, JJ., concur.
